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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

                                               HON. KATHARINE S. HAYDEN
   Student DOE #1, et al.,                     HON. ANDRÉ M. ESPINOSA
                Plaintiff,                     Civil Action No. 25-2998 (KSH)(AME)
          v.

   KRISTI NOEM, et al.,

                Defendants.

                                 NOTICE OF FILING

        Defendants respectfully submit this notice to apprise the Court of a

  development that may impact the claims in this suit. As of April 26, 2025,

  Immigration and Customs Enforcement (“ICE”) has promulgated a new policy

  concerning the termination of records in the Student and Exchange Visitor

  Information System (“SEVIS”). A copy of that new policy is attached.

                                                Respectfully submitted,
                                                ALINA HABBA
                                                Acting United States Attorney

  Dated: May 5, 2025                    By:     /s/ John T. Stinson
                                                JOHN T. STINSON
                                                Assistant U.S. Attorney
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  Broadcast Message: SEVIS Notice – Policy Regarding Termination of Records

  To: All SEVP Personnel

  Date: April 26, 2025



  General Information

  The Student and Exchange Visitor Program (SEVP) manages and tracks nonimmigrants in the F,
  M, and J categories. To eliminate vulnerabilities related to the nonimmigrant visa program,
  Congress provided broad statutory authority under 8 U.S.C. § 1372 for the Government “to
  develop and conduct a program to collect” information regarding nonimmigrant students and
  exchange visitors and to “establish an electronic means to monitor and verify” certain related
  information, which is the system referred to as the Student and Exchange Visitor Information
  System (SEVIS). Inherent in that authority is SEVP’s ability to update and maintain the
  information in SEVIS and, as such, to terminate SEVIS records, as needed, to carry out the
  purposes of the program.

  A terminated record in SEVIS could indicate that the nonimmigrant no longer maintains F or M
  status. Designated school oﬃcials (DSOs) mostly terminate F-1/M-1 students and/or F-2/M-2
  dependents who do not maintain their status. However, termination does not always result in
  an adverse impact on the student. DSOs and SEVP can terminate records for several normal,
  administrative reasons.

  Additionally, SEVP can terminate records for a variety of reasons, including, but not limited to
  the following reasons:

             o   Exceeded Unemployment Time
             o   Failure to Comply with I-515A
             o   Failure to Repay the I-901 Fee Chargeback
             o   Failure to Report While on OPT
             o   No Show
             o   School Withdrawn
             o   Violation of Change of Status Requirements
             o   Change of Status Approved
             o   Evidence of a Failure to Comply with the Terms of Nonimmigrant Status Exists
             o   U.S. Department of State Visa Revocation (Eﬀective Immediately)

  Failure to Comply with Terms of Nonimmigrant Status




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  When SEVP has objective evidence that a nonimmigrant visa holder is no longer complying with
  the terms of their nonimmigrant status for any reason, then the SEVIS record may be
  terminated on that basis. Information should be entered into in SEVIS that identiﬁes the failure
  to comply. In its discretion, ICE may conduct further investigation or initiate removal
  proceedings pursuant to INA § 237(a)(1)(C)(i) based on evidence that a nonimmigrant student is
  not complying with the terms of their nonimmigrant status.

  Visa Revocations

  Pursuant to INA § 221(i), the U.S. Department of State (State) may at any time, in its discretion,
  revoke an alien’s visa. State can consider derogatory information provided by ICE and other U.S.
  law enforcement agencies in its assessment of whether visa revocation is appropriate for an
  alien. When State revokes an alien’s visa with immediate eﬀect, ICE should take steps to initiate
  removal proceedings.

  If State revokes a nonimmigrant visa eﬀective immediately, SEVP may terminate the
  nonimmigrant’s SEVIS record based on the visa revocation with immediate eﬀect, as such a
  revocation can serve as a basis of removability under INA § 237(a)(1)(B). SEVP should not,
  however, terminate a nonimmigrant’s SEVIS record on this basis until it has conﬁrmed that State
  has revoked the visa.

  For additional information about SEVIS record terminations, please contact the SEVP Response
  Center (SRC) via phone at 703-603-3400 or 1-800-892-4829 or via email at SEVP@ice.dhs.gov.
  The SRC is open Monday through Friday, 8 a.m. to 6 p.m. ET, except for federal holidays.

  Disclaimer

  This Broadcast Message is not a substitute for applicable legal requirements, nor is it itself a rule
  or a ﬁnal action by SEVP. It is not intended to, does not, and may not be relied upon to create
  any right or beneﬁt, substantive or procedural, enforceable at law by any party in any
  administrative, civil, or criminal matter.




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